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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV16-2859-CAS(PLAx)                                                 Date   July 19, 2018
 Title             MACOM TECHNOLOGY SOLUTIONS HOLDINGS, INC.; ET AL. v. INFINEON
                   TECHNOLOGIES AG; ET AL.



 Present: The                    CHRISTINA A. SNYDER, UNITED STATES DISTRICT JUDGE
 Honorable
                    Catherine M. Jeang                                                Laura Elias
                        Deputy Clerk                                        Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                        Amanda Tessar                                            Alison Mackenzie
                       Ramsey Al-Salam                                              David Wille
                                                                                   Jeffrey Baxter
                                                                                Lawrence Michlovich
 Proceedings:                 MOTION FOR SUMMARY JUDGMENT ON ESTOPPEL (Filed
                              06/04/2018)[518]

      Hearing held and counsel are present. The Court confers with counsel and counsel
argue. The Court takes the matter under submission.




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                                                               Initials of Preparer                  CMJ




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